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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA
                                  MACON DIVISION

 ANNA LANGE,                                     )
                                                 )
        Plaintiff,                               )
                                                 )
 v.                                              )          CIVIL ACTION NO.
                                                 )          5:19-CV-00392-MTT
 HOUSTON COUNTY, GEORGIA; and                    )
 Houston County Sheriff CULLEN                   )
 TALTON, in his official capacity,               )
                                                 )
        Defendants.                              )


          RESPONSE TO DEFENDANTS’ MOTION FOR CONTINUANCE OF
                  JURY TRIAL SET FOR FEBRUARY 27, 2023


       COMES NOW Plaintiff Sgt. Anna Lange (hereinafter, “Plaintiff”) by and through her

undersigned counsel, and respectfully files her Response to the Motion For Continuance of Jury

Trial Set For February 27, 2023, (the “Motion”), ECF 272, filed by Houston County, Georgia and

Sherriff Cullen Talton, in his official capacity (“Defendants”).

                                        BACKGROUND

       On October 31, 2022, Defendants filed the Motion, requesting a continuance of the jury

trial on Plaintiff’s Equal Protection claim under 42 U.S.C. § 1983, currently set for February 27,

2023 (the “February trial”). ECF 272. The following day, on November 1, 2022, this Court

ordered Plaintiff to respond to the Motion by November 11, 2022. ECF 273. On November 4,

2022, Defendants filed a Notice of Appeal. ECF 274. On November 7, 2022, the parties conferred

for the first time regarding the Motion and Defendants’ requested relief. Plaintiff now respectfully

joins Defendants in requesting that the February trial be continued pending appeal, while reserving

all rights with respect to the arguments that Defendants set forth in the Motion.
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                                           ARGUMENT

       Plaintiff does not oppose the relief sought in the Motion, namely a continuance of the

February trial. Following the November 7 conference, the parties were able to reach agreement

on a proposed order for continuance of the February trial date, and all related deadlines, including

substantive responses to the arguments Defendants raised in the Motion, as well as Defendants’

Daubert motions, ECF 267-271. A joint proposed order reflecting the parties’ agreement is

attached hereto.

       Plaintiff does not contest Defendants’ request for a continuance because she is satisfied

that the relief obtained before this Court on her Title VII claim affords her the thing she most needs

– coverage for her surgery – and her priority now is to obtain that surgery in a timely manner.

However, Plaintiff cannot relinquish the pending Equal Protection claim given the inherent

uncertainty in the appellate process. For that reason, Plaintiff agrees that a continuance of the

February trial pending Defendants’ appeal would be beneficial to all parties and respectfully

submits that it would also serve judicial economy.

       Plaintiff does, however, contest the arguments in the Motion that go to the merits of the

claim. In light of the parties’ agreement regarding the requested relief, Plaintiff does not wish to

burden the Court with unnecessary briefing on issues that may well become moot. Plaintiff does

not, however, intend to waive or concede these arguments. If the Court prefers that Plaintiff

respond to the Motion in full, Plaintiff respectfully requests a one-week extension to November

18, 2022 to file a Supplemental Response to the Motion.

                                          CONCLUSION

       For the foregoing reasons, Plaintiff respectfully requests that this Court grant the parties’

joint proposed order and continue the February trial pending resolution of Defendants’ appeal on




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Plaintiff’s Title VII claim, as well as all related dates and Plaintiff’s response on the merits to the

Motion. In the alternative, Plaintiff requests a one-week extension to file a Supplemental Response

to the Motion.

       Respectfully submitted, this 9th day of November, 2022.




 /s/ Wesley R. Powell
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                                CERTIFICATE OF SERVICE

       This is to certify that I have this day served the foregoing RESPOSNE TO

DEFENDANTS’ MOTION FOR CONTINUANCE OF JURY TRIAL SET FOR

FEBRUARY 27, 2023 to the Clerk of Court using the CM/ECF system, which will automatically

send electronic mail notification of such filing to the following counsel of record, who are CM/ECF

participants:


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                                    Attorneys for Defendants


       This 9th day of November, 2022.



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